                              No. 7:17-CR-105-lD
                              No~   7:17-CR-105-3D
                              No. 7:17-CR-lcr5-5D
                              No. 7:17-CR-105-6D


UNITED STATES OF AMERJCA              )
                                      )
            v.                        )           '        '   '



                                      )     SECOND SUPERSEDING INDICTMENT
RUFUS LAMAR PARKER                    )
      a/k/a "Rudy Parker"             )
JAMES FLOWERS                         )
      a/k/a."Jamaal Greene"           )
      a/k/a "Chapa"                   )
      a/k/a "Slick"                   )
VICTOR EUGENE DORM                    )
     .a/k/a "VI"                      )
JOSEPH ANTHONY VAUGHT                 )
      a/k/a "Gatti"

       The Grand Jury charges that:


                                    COUNT:ONE

       Beginning at a date     unkno~n,   but no later than Dec.ember 2016    I




and continuing up to on or about· August 29.1 2017, . in the Eastern

District of -North Carolina,         and elsf)where,   RUFUS LAMAR PARKER,
                                                                              /   '

also know;n as "Rudy Parker," JAMES FLOWERS, also known as "Jamaal

Greene," ·and as "Chapa," and as "Slick,u and VICTOR.EUGENE DORM,

also    known·   as   "VI,"    defendants    herein,     did· knowingly    and

intentionally combine,        conspire,   confederate,    agree,   and. have -a

tacit understanding with each othe.r and other persons, known and




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 unknown     to     the     Grand _-Jury,              to    knowingly         and    intentionally

manufacture, distribute, and possess with. the intent to distribute

 a mixture and substance containing a detectable amount of cocaine

.and cocaine base (crack)          I   -   each a Schedule II controlled substance,

 in violation of-Title 21, United States Code, Section 841(a) (1).


     Quantity of Controlled Substances Involved in the Conspiracy

       With respect         to RUFUS_ LAMAR- PARKER,                      defendant herein,      the

amount involved in the conspiracy attributable to him as a result

of    his    own     conduct,      and          the        conduct       of   other   conspiratorsI

reasonably foreseeable to him,                        is.twenty~eight          (28) grams or more

of    a. mixture      and    substance           containing          a    detectable     amount - of

cocaine base         (crack}      and       (5 O O)       grams or more of a           mixture and -

substance containing a detectable amount of cocaine, in violation

_of Title 21, United States Code, Section 841(b) (1) (B).

       With respect to JAMES FLOWERS,                         defeb.dant herein,        the amount

involved in the conspiracy attributable to him as _a result of his

·own conduct,        and    the   conduct             of    other · conspirators        reasonably

foreseeabl~        to him, is twenty.:..eight -(28) grams or more of a mixture

ahd    substance      containing            a    detectable          amount     of    cocaine   base

 (crack)    and a -quantity of a mixture - and substance containing a

detectable amount of cocaine,                         in violation of Title 21,              United

States Code, Section 841 (b) (1) (B).




                                                      2
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         With respect       to VICTOR EUGENE DORM,                        defendant    herein,    the

amount involved in the conspiracy attributable to him as a result ·

of     his     own   conduct,    and.    the           conduct           of   other    conspirators

reasonably foreseeable to him,                    is twenty:...eight (28) grams or more

of   a    mixture     and   substance        containing              a    detectable     amount     of

cocaine base          (crack)   and a    quantity of a mixture and substance

containing a detectable amount of cocaine,                                in violation of Title

21, United States· code, Section 841(b) (1) (B)

         All   in violation of Title 21,                   United St,ates · Code,           Section

846.


                                         COUNT TWO

         On or about December 14,                 2016,     in the Eastern District of

North Carolina, VICTOR .EUGENE. DORM, also known as: "VI," defendant

herein,        did knowingly and        intentionally distribute                       and possess

with     intent      to   distribute     a   quantity         of          heroin,     a. Schedule    I
                                                                 '
controlled substance, in violation of Title 21, United States Code,

Section 84l(a)(l).


                                        COUNT THREE

         On or about December 19 I            •   2016 I    in the Eastern District of

North Carolina, VICTOR EUGENE DORM, also known as "VI," defendant··

herein, having previously been convicted of a crime punishable by

imprisonment for a term exceeding one year, did knowingly possess,




                                                   3
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in and affecting commerce,        a firearm,      in violation of 'ritle 18,

United. States Code, Sections 922(g) (1) and 924.


                                  COUNT FOUR

      On or about January 4, 2017, in the Eastern District of North

Carolina, VICTOR EUGENE DORM, also known as "VI,u defendant herein, .

did knowingly and intentionally distribute and possess with intent

to   distribute    a   quantity   of   heroin, .. a   Schedule        I   controlled

substance,     and a quantity of fentanyl,        a Schedule II controlled

substance,     in violation of Title 21, United States Code, Section

841 (a) (1).


                                  COUNT FIVE

      On or about January 5, 2017, in the Eastern District of North

Carolina, VICTOR EUGENE DORM, also known as "VI          I   II   defe!ldant herein,

did knowingly and intentionally distribute and possess with intent

to   distribute    a   quantity   of   :heroin,   a   Schedule ·I         controlled

substance,     in violation of Title 21, United States Code, Section

84l(a)(l).


                                  COUNT SIX

      On or about January 5, 2017, in the Eastern District of North

Carolina, VICTOR EUGENE DORM, also known as           "VI~   /1
                                                                  defendant herein,

did knowingly use and carry a firearm during and in relation to a

drug trafficking crime for which he may be prosecuted in a court

of the United States,       as alleged in Count Five of this Second


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.J.



      ·Superseding Indictment,                     in violation of Title 18,                  United States

       Code, Section 924 (c) (1) (A) (i)


                                                     COUNT SEVEN

              On or about January 5, 2017, in the Eastern District of North
              .                    .                                           .

       Carolina, VICTOR EUGENE DORM,· also known as "VI,~, defendant herein,
                    """
       having been convicted of a crime punishable by imprisonment for a

       term       exceeding       one       ( 1)    year   I       did   knowingly      possess   I   in   and

       affecting commerce,              a    firearm,          in violation of Title 18, United

       States Code, Sections 922(g) (1) and 924.


                                                     COUNT EIGHT

              On or about January 10, 2017 1 in the Eastern Di.strict of North

       Ca~olina,.     VICTOR EUGENE DORM, also known as "VI," defendant herein,

      did knowingly and intentionally distribute .and possess with intent

       to   distribute        a    quantity          of        heroin,     a       Schedule   I   controlled

       substance,         in violation of Title·2i, United States Code,                               Section

       841(a) (1).


                                                     COUNT NINE

              On or about Janu·ary 1 7, 2017, in the Eastern District of North·

      Carolina, VICTOR EUGENE DORM, also known as "VI," defendant herein,

      .·having been convicted of a crime punishable by imprisonment for a

      term        exceeding       one       (1)     year,          did   knowingly      possess,      in   and

      affecting commerce,               a    firearm,          in violation of Title 18,              United

      States Code, Sections 922(g) (1) and 924.


                                                               5
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                                   COUNT TEN

      On or about January 25, 2017, in the Eastern District of .North·

 Carolina, VICTOR EUGENE DORM, .also known as           '~VI,   11
                                                                     defendant herein,

did knowingly and intentionally distribute and possess with intent

to   distribute    a ·quantity     of     heroin,   a . Schedule         I   . controlled

substance·, and a quantity of cocaine           ba~e    . (crack) , a Schedule II

controlled substance, in violation of Title 21, Uriited States Code,

Section 841 (a) (1).


                                  COUNT.ELEVEN

      On or about March     9~    2017,    in the Eastern District of North

Carolina, VICTOR EUGENE DORM, also known as "VI,                11
                                                                     defendant herein,

did knowingly and intentionally distribute and possess with intent

to   distribute    a   quantity    of     heroin,   a   Schedule         I   controlled

. substance,   and a   quantity· of     cocaine,    a   Schedule        II   controlled

substance,     in vio.lation .of Title 21, United States Code,                  Section

841 (a) (1).


                              · .COUNT TWELVE

      On or about March· 15, 2017, in the Eastern District of North.

Carolina, VICTOR EUGENE DORM, also known as ."VI,               11
                                                                     defendant herein,

did knowingly and intentionally djstribute and possess with intent

to   distribute    a   quantity    of     heroin,   a   Schedule         I   controlled

substance,     in violation of Title 21, United States Code,                    Section

841 (a) (1).




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         .
         ~.




                                                 COUNT THIRTEEN-

                     On or about Ma_rch 23, 201 7, in the Eastern District of North
                                                                                               .          .
              Carolina, VICTOR EUGENE DORM, also known as "VI," defendant herein,
~   -·

              having been convicted of a·crime punishable by imprisonment for a

              term    exceeding     one    (1)    year,        did    knowingly     possess,        in   and

              affecting commerce,         a firearm,       in violation of Titie 18, United

              States Code, Sections 922(g) (1) and.924.


                                                 COUNT FOURTEEN

                     On or about -March 3.1, 2017, in the Eastern District of North

              Carolina,     RUFUS    LAMAR       PARKER,       also    known   as    "RUDY         PARKER,"

              defendant herein, did knowingly and intentionally distribute a:i;id_

              possess with intent to distribute a quantity of cocaine, a Schedule

              II controlled substance, .in violation of Title 2i; United States

              Code, Section 84l(a) (1).                                                                       _(




                                                  COUNT FIFTEEN

                     -On or:about April 4, 2017,           in the Eastern District of North

              .Carolina,   RUFUS     LAMAR       PARKER,       also    known   as    "RUDY         PARKER,"        )   .



              defendant herein, did knowingly and intentionally distribute and

              possess with intent- -to distribute a quantity of cocaine, a Schedule

              II controlled substance,           in violation of' Title 21,- United States

              Code, Section 84l(a) (1).




                                                           7
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. ':.Q




                                             COUNT .SIXTEEN

                On or about April 6, 2017,          in the Eastern District of North

         Carolina,        RUFUS   LAMAR· PARKER,       also   known   as       "RUDY   PARKER,"

         defendant herein, did knowingly and intentionally distribute and
                                                                           )
         possess with intent to distribute a quantity of cocaine, a Schedule

         II controlled substance,        in violation of Title 21, United States

         Code·, Section 841 (a) (1) .


                                         COUNT SEVENTEEN

              ·on or about April 12, 2017, in the Eastern District of North

         Carolina, VICTOR EUGENE DORM, also known as "VI,"· defendant herein,

         did knowingly and intentionally distribute and possess with intent.

         to   distribute      a   quantity    of   heroin, . a   Schedule        I   controlled

         substance,       in violation of Title 2i, United States Code, Section

         841 (a) ( 1) .


                                         COuNT EIGHTEEN

               .on or about April. 12, 2017, in the Eastern District of North

         Carolina, VICTOR EUGENE DORM, also known as "VI," defendant herein,

         did knowingly use and carry a firearm during and in relation to a

         drug trafficking crime for which he may be prosecuted in a court

         of the United States, as alleged in Count Seventeen of this Second

         Superseding Indictment, · in violation of Title 18,                    United States

         Code, Section 924 (c) (1) (A) (i).




                                                   8
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                                      COUNT NINTEEN

    · On or about April 12, 2017,                  in the Eastern District of North..
        .                 .

 Carolina, VICTOR EUGENE DORM, also known as "VI," defendant herein,

 having been convicted of a crime punishable by imprisonment for a

 term       exceeding    one   (1)    year,        did    knowingly     possess,    in :and

 affecting commerce,· a           firearm,     in violation of Titie 18.,            United

 States Code, Sections 922.(g) (1) and 924.


                                       COUNT TWENTY

        On or about April 13, 2017,                in the Eastern District of North

 Carolina,       RUFUS    LAMAR      PARKER,       also    known   as    "RUDY     PARKER,"

. defendant herein,       did knowingly and intentionally distribute and

possess with intent to distribute a quantity of cocaine, a Schedule

 II controlled substance,            in violation of.Title 21, United States·

 Code, Section 841 (a) .(1).


                                     COUNT TWENTY-ONE

        On or about April 20, 2017, in the Eastern District of North

 Carolina,       RUFUS    LAMAR      PARKER,       also    known   as    "RUDY     PARKER,"

defendant· herein,        did knowingly and interitionally distribute and .

· possess with intent. to distribute a quantity of cocaine, a. Schedule·

 II controlled substance,            in violation of Title 21, United States

 Code, Section 841(a) (1).




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                                 COUNT TWENTY-TWO

      On or about April 26, 2017, in the Eastern District of North

 Carolina, VICTOR EUGENE DORM, also known as "VI," defendant herein,
                                                                 .       .




,having been convicted of a.crime punishable by imprisonment for a

term exceeding one year, did knowingly possess,                          in and affecting

.·commerce, a firearm, in violation of Title 18, United States Code,

Sections 922 (g) (1) and 924.


                                COUNT TWENTY-THREE

      On or .about May 2,        2017, . in the Eastern District of North

Carolina,      RUFUS    LAMAR    PARKER,    also       known        as       "RUDY        PARKER,"

defendant herein, did knowingly and intentionally distribute and

possess with intent to distribute a quant}ty of cocaine, a Schedule

II controlled substance,         in violation of Title 21, United States

Code, Section 84l(a) (1).


                                COuNT TWENTY-FOUR

      On or about June 4,         2017,    in the Eastern District of North

Carolina,      VICTOR   EUGENE. DORM,      also    known           as    "VI,"       and       JAMES

FLOWERS   I   also known as. "Jamaal Greene        I   II    and as . "Chapo         I   II   and as

 "Slick," defendants herein,         aiding arid abetting each other,                            did

knowingly and intentionally manufacture,                     distribute,         and possess

with inteni to di~tribute twenty-eight                      (28)   gra~s      or more          ot   a

mixture and substance containing a detectable amount of cocaine

base (crack), a· schedule II controlled substance, in violation of



                                    10
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  Title    21,       United States· Code,               Section     841(a) (1) - arid 'J'itle    18,
                 '    '                    '


  United States Code, Section 2.


                                       •coUNT TWENTY-FIVE

          On or about June 4 ,_ 2017,                  in the Eastern District Of N6r_th

  Carolina,          VICTOR   EUGENE           DORM,    also    known     as   "VI/'   -and    JAMES

  FLOWERS,       also known as             "Jamaal Greene,"          and as -,\Chapo,"        and_ as

  "Slick,"       defendant~     herein~           aiding and abettirig each other,               did

  knowingly use and carry a firearm during and in relation to a drug

  trafficking crime for which they may be prosecutec]_- in a court of

  the United States, as.alleged-in Courit Twenty-Four of this Second

 -superseding Indictment, and did possess the firearm in furtherance

  of   said   crime,      in violation             of       Title   18,   United States - Code';'

, Sections 924 ( c) (1) (A) ( i) and_ 2.


                                           COUNT TWENTY-SIX

         On or about July 10, 2017,                     in the Eastern: District of North

  Carolina, VICTOR EUGENE DORM, also known as "VI," defendant herein,

  having been convicted of a cr.ime punishable by imprisonment for· a

  term    exceeding       one       (1,)       year,    did    knowingly       possess,   in     and

  affecting commerce,           a    firearm, - in violation of Title 18,                     United

  States Code, Sections 922(g) (1) and 924.


                                       COUNT TWENTY-SEVEN

         On or about July            11~       2017,    in the Eastern District of North

  Carolina, JOSEPH ANTHONY VAUGHT, also known as "Gotti," defendant


                                                       11
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     herein,     did· knowingly and        intentionally distribl1te                 and possess

     with    intent    to     distribute a      quantity of        heroin,      a        Schedule   I·

     controlled substance, in violation of Title 21, Un:\.ted States Code,

     Section 841(a) (1)


                                      COUNT TWENTY-EIGHT

            Beginning in June 2017,             and continuing through on or about

. August 29,          2017,    in the Eastern District of North Carolina,                        and·

     elsewhere,       VICTOR EUGENE DORM,         also known as          "VI,   11
                                                                                     .   and JOSEPH

·ANTHONY VAUGHT,              also   known. as· ·"Got ti,   11
                                                                  defendants         herein,     did

     knowingly and intentionally combine, conspire, confederate, agree, ..

- and have a tacit understanding with each other and other persons,

     known and unknown to the Grand Jury, to knowingly and intentionally

     distribute and possess with the intent to distribute a mixture and

     substance containing a detectable amount of cocaine, a Schedule II

     controlled ·substance, in violation of Title 21, .United States Code,

     Section 8 41 (a) ( 1 ) . ·


          Quantity of Controlled.· Substances Involved in the Conspiracy

            With respect          to VICTOR EUGENE DORM,           defendant herein,             the

     amount involved inthe conspiracy attributable to him as a result
                                                                          '-
     of    his   own    conduct,      and ·the        conduct     of   other         conspirators

     reasoriably    foreseeabl~       to him,    is five    (5)   kilograms or more of a
 .                                                                                           .         .
     mixture and substance containing a detectable amount .of cocaine,·

     in violation of Title 21, United States Code, Section 84l(b) (1) (A).·



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           .With respect to JOSEPH ANTHONY VAUGHT, defendant herein, the

 amount involved in the conspiracy attributable to him as a result •.

 of        his        own    conduct,   and   the      conduct   of    other     conspirators

 reasonably foreseeable to him,                  is five     (S) kilograms dr more of a

 mixture and substance. containing a detectable amount of cocaine,

 in violation of Title 21, United States Code, Section 84;1 (b} (1) (A).

            All       in violation of Title 21,           United States Code,        Section .
   ,
  ..
       (

 846.


                                        COUNT TWENTY-NINE.

            On or about August 29, 2017, in the Eastern District of North.·

 Carolina,             the    defendant,   JOSEPH ANTHONY VAUGHT,           also    known·as

 "Got ti I       II   knowingly . used     and   carried     a   fire arm   quring    and   in

 relation to a drug trafficking crime for which. he may be. prosecuted

 in a court of the United States, as charged in Count Twenty-Eight

of this Second Superseding Indictment,                       and possessed the firearm

 in furtherance of said crime.

           All        in violation of Title 18,. United States Code,                 Section ·

 924 (c) (1) (A) (i).


                                           COUNT THIRTY

            On or about August 29, 2017, in the·Eastern District of North

 Carolina,             the    defendant,   JOSEPH ANTHONY VAUGHT,           also    known   as

· "Got ti,       11
                      did unlawfully attempt           to obstruct.,    delay,    and affect

 commerce, as that term is defined in Title 18, United States Code,



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r




    Secti.on 1951(b) (3), and the movement of articles and commodities

    in such commerce, by robbery as that term is defined in Title 18, ·

    United States Code,     Section 1951 (b) (l)·,         that is, ·the unlawfully

    taking and obtaining of personp.1 property from the person and in

    the presence of·- another, . against that person's will, by means of
                                                   .         i
    actual and    threaten~d   forcie, violence, and fear of injury, and did

    aid and abet others in so doing.

         All in'. violation of Title 18, United States Code,                Sections

    1951 and 2.


                                 COUNT THIRTY-ONE

         On or about August 29, 2017, in the Eastern District of North

    Carolina,    the   defendant, . JOSEPH ANTHONY VAUGHT,            also known as

    "Got ti,"    having   been   _convicted   of       a     crime.   punishable   by

    imprisonment for a term exceeding one year, did knowingly possess,

    in and affecting commerce,       a firearm,    in violation of Title· la, ..

    United States Code, Sections 922(g) (1) and 924.




                  [Remainder of page intentionally left blank].




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p'




                         ALLEGATION OF PRIOR CONVICTIONS

            For purposes of Title 21, United States Code, Sections 841(b)
                           '                                                        '


      and 851, RUFUS LAMAR PARKER, also known as "Rudy Parke.r,                11
                                                                                    defendant

     . herein,   committed each of the violations alleged iri this Second

     Superseding. Indictment        after   one    (1)    or   more        separate     prior

      convictions for a        felony drug offense,       as defined in Title 21,

     United States Code, Sect.ion 802 (44), had become final.

            For purposes of Title 21·, United States Code, Sections 841 (b)

     and 851, VICTOR EUGENE DORM, also known as "VI," defendant .herein,

     committed each, of the violations alleged in this Second Superseding

     •Indictment after one       (1) or more separate prior convictions for a

      felony drug offense, as defined in Title 21, United States Code,

     Section 802(44), had become        fin~l.


            For purposes of Title 21, United States Code, Sections 84l(b)

     and 851,    JOSEPH ANTHONY VAUGHT,      also known as "Gotti," defendant

     .herein, · committed e.ach. of the violations alleged in this Second

     Superseding     Indictment · after     one.   ( 1)   or   more       separate      prior

     · convictions for a       felony drug offense,       as defined in Title 21,

     United States Code, Section 802(44), had become final.
                                                                      '    ,
                                                                          ./




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   ....-,,
.. _         ,,

                                                     FORFEITURE NOTICE

                           The     defendants      are   given   notice   that    Pl.1-rsuant    to    the

                   provisions of Title 21, United States: Code, Section 853, that all

                   of his interest in' all property specified herein is subject to

                   forfeiture~


                           As a result of the fbregoing of fens~s in Counts One                  throug~

                   Thirty-Orie of the Second Superseding Indictment,                    the defend~nts

                   shall        forfeit    to    the 'united     States   any    and     all    property

                   constituting, or derived from, any proceeds tlie defendant obtained

                   directly or indirectly as a result of the said offenses and any

                   and all property used or intended· to be used in any manner or pa.rt

                   to commit or to facilitate the commission of the offenses alleged

                   in the Second Superseding Indictment, br any property traceable to

                   such property,         including, without limitation:          (i)    $7,000 seized

                  on June 22,        2017,      from· the sister of SYLVESTER LORENZO HOOPER,

                  . JR.;   (ii)    $31, 020 seized during the search of 521Q Penny Lane,

                  Apartment 14, Wilmington, North Carolip.a, on August 29, 2017; and

                   (iii)    $2, 554 seized from RUFUS LAMAR PARKER at the time: of this

                  arrest on August 29, 2017.

                           If    any of    the    above-described forfeitable          property,      as   a

                   result of any act or omission a defendant,

                           (1)    cannot be located upon the exercise of due diligence;

                           (2)    has been       trans~erred   or sold to,   or deposited with,            a

                                  third person;


                                                               16'
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..4'1   i   .. :



                                                                                                      ' I             •   '

                            (3)      h.c;1:s   b~en. plac~P,   beyon.d the ,jurisdi,cti.on of the. court;.···

                            (4)      has been substanti'ally dimiriished in :value; or
                                             .·                .                                      . .
                           · (5)    ·has b~en co~~:j..rigled_ :with .other property·:whic~ "cannc:it· be
                                                       . ..                 .          .
                                     subdivid~d with.~ut           diffJculty; :

                       it is the inten~ of th~ United St.ates, .pursuant to Titl~ 21, United

                   ·states         Code, . Section       8~3   (p) ,· tci       se~k       forfeiture, of   any· 0th.er·

                       property of said de~e~dant up to the value o'f 'the' above. forf~itable

            ··property.

                                                                                A TRuE BILL.




                                                                                FOREPERSON

                                                                                DATE:.
            I      .




                . ROBERT J. HIGDON, JR.
                       United States .Attorney
                                           .

                           ·~~···
(




                ·BY:
                                                                                                                                     ·-'·
                             ~PUGH .
                                                                                                                                            .



                             Assistant U. _s. Atto~ney
                           · Crimirial Di~ision                                                                               .. /




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